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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO



   Civil Action No.________________



   ROCKY MOUNTAIN MOBILE MEDICAL,

                        Plaintiff,

   vs.

   UNITED STATES AIR FORCE ACADEMY,

                        Defendant.



                           COMPLAINT FOR INJUNCTIVE RELIEF


         For its Complaint against the United States Air Force Academy (“USAFA”), Plaintiff

  Rocky Mountain Mobile Medical (“Rocky Mountain”) alleges as follows:

         1.     This is a civil action brought pursuant to the Freedom of Information Act (“FOIA”),

  5 U.S.C. § 552, seeking an order enjoining USAFA from improperly withholding agency records

  and compelling the production of all agency records responsive to a FOIA request submitted on

  behalf of Rocky Mountain.

         2.     The agency records in question relate to a FOIA request submitted on behalf of

  Rocky Mountain to USAFA. In summary, the FOIA request sought the disclosure of agency

  records regarding a contract awarded to Rocky Mountain in September 2019 for ambulance

  medical services at USAFA’s campus, as well as agency records relating to a subsequent sole-

  source contract awarded to Asteri Consulting Services, LLC d/b/a/ Asteri EMS, LLC in 2021 for

  the same services.


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         3.      USAFA failed to comply with its public disclosure obligations under FOIA to

  produce the agency records requested by Rocky Mountain. As the Supreme Court for the United

  States has recognized, “the basic purpose of FOIA is to ensure an informed citizenry, vital to the

  functioning of a democratic society, needed to check against corruption and to hold the governors

  accountable to the governed.” National Labor Relations Bd. v. Robbins Tire & Rubber Co., 437

  U.S. 214, 242, 98 S. Ct. 2311, 57 L.Ed.2d 159 (1978).

         4.      The public has a compelling interest in the disclosure of agency records related to

  agency contracting decisions, especially where, as here, the agency utilizes a sole-source

  procurement instrument without seeking competitive bids. These records are being improperly

  withheld by USAFA without justification under FOIA.

                                               PARTIES

         5.      Plaintiff Rocky Mountain Mobile Medical is a Colorado corporation registered to

  do business in the state of Colorado.

         6.      Defendant the United States Air Force Academy is a military educational institution

  and an agency of the United States of America as defined in 5 U.S.C. § 552(f)(1) and 5 U.S.C. §

  551(1). USAFA is an agency with possession and control of the requested agency records and is

  responsible for producing such agency records pursuant to FOIA.

                                   JURISDICTION AND VENUE

         7.      This Court has jurisdiction over this civil action pursuant to 28 U.S.C. §§ 1331,

  1361, and 5 U.S.C. § 552(a)(4)(B).

         8.      Venue for this civil action lies in the United States District Court for the District of

  Colorado pursuant to 5 U.S.C. § 552(a)(4)(B).

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                                    STATEMENT OF FACTS

         9.     On March 22, 2022, counsel for Rocky Mountain submitted a FOIA request

  electronically to USAFA seeking agency records relating to contracting actions for ambulance

  medical services administered by USAFA (“FOIA Request”). The FOIA Request identified

  specific and finite information which could be easily collected and produced, and it further

  requested that USAFA prioritize production of easily collectible information within FOIA’s

  statutory deadline established in 5 U.S.C. § 552(a)(6)(A)(i) before conducting searches for the

  other requests. A true and correct copy of the FOIA Request is appended hereto as Exhibit A.

         10.    In addition to the electronic submission, counsel for Rocky Mountain also

  transmitted a hard-copy of the FOIA Request to USAFA via U.S. Postal Service (“USPS”)

  Certified Mail. USAFA received the USPS-mailed FOIA Request on March 24, 2022. A true and

  correct copy of the USPS Certified Mail record is appended hereto as Exhibit B.

         11.    On March 24, 2022, USAFA transmitted an email acknowledging receipt of the

  FOIA Request. A true and correct copy of USAFA’s acknowledgement is appended hereto as

  Exhibit C.

         12.    The statutory deadline for USAFA to provide a determination with respect to the

  FOIA Request was on or before April 21, 2022. See U.S.C. § 552(a)(6)(A)(i) (“Each agency . . .

  shall determine within 20 days . . . whether to comply with such request and shall immediately

  notify the person making such request of such determination and the reasons therefor.”).

         13.    On April 8, 2022, USAFA transmitted a separate acknowledgment assigning the

  FOIA Request as Docket No. 2022-02900-F (“Docketing Notice”). USAFA placed the FOIA

  Request into an internal “complex track.” Citing “a significant number of pending FOIA requests,”

  the Docketing Notice stated USAFA would be “prevent[ed] . . . from making a response



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  determination within 20 workdays.” A true and correct copy of the Docketing Notice is appended

  hereto as Exhibit D.

         14.     On May 5, 2022, counsel for Rocky Mountain emailed USAFA to: (i) notify

  USAFA that it had failed to provide a determination as required by FOIA by the applicable

  statutory deadline; (ii) request a date certain on which USAFA would provide a determination or

  produce the requested agency records; and (iii) object to USAFA’s potential assessment of search

  fees due to the agency’s failure to comply with FOIA’s statutory deadline. A true and correct copy

  of the May 5th correspondence is appended hereto as Exhibit E.

         15.     After not receiving any response to its May 5th correspondence, on May 18, 2022,

  counsel for Rocky Mountain again emailed USAFA requesting information regarding the agency’s

  response to the FOIA Request. USAFA replied the same day that it was “unable to meet the time

  limits imposed by the FOIA,” and that the agency would provide periodic updates regarding the

  status of the request. USAFA also stated that the agency could not supply an “anticipated

  completion date” in which the agency would comply with its disclosure obligations under FOIA.

  A true and correct copy of the May 18th correspondence is appended hereto as Exhibit F.

         16.     On June 10, 2022, counsel for Rocky Mountain emailed USAFA requesting an

  update regarding USAFA’s progress in responding to the FOIA Request. As of the date of this

  Complaint, USAFA has neither responded to this latest correspondence, nor provided a status

  update or an anticipated response date. A true and correct copy of the June 10th correspondence

  is appended hereto as Exhibit G.

                   COUNT I - FAILURE TO COMPLY WITH 5 U.S.C. § 552

         17.     Paragraphs 1-16 are incorporated as if fully set forth herein.




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         18.     Pursuant to 5 U.S.C. § 552(a), Rocky Mountain has a statutory right to the

  disclosure of the agency records sought in the FOIA Request.

         19.     Counsel on behalf of Rocky Mountain submitted a proper FOIA request to USAFA

  in accordance with 5 U.S.C. § 522(a)(3)(A).

         20.     USAFA failed to timely notify Rocky Mountain whether it would comply with the

  FOIA Request in violation of 5 U.S.C. § 552(a)(6)(A)(i).

         21.     USAFA also failed to comply with its disclosure obligations under FOIA within

  the statutory time limits prescribed by 5 U.S.C. §§ 552(a)(6)(A)(i)-(ii).

         22.     As a result of USAFA’s failure to adequately respond to the FOIA Request, Rocky

  Mountain constructively exhausted any administrative remedies required by FOIA and is entitled

  to seek judicial review pursuant to 5 U.S.C. § 552(a)(6)(C).

         23.     On information and belief, USAFA failed to conduct a reasonable search for the

  specifically identified finite records requested, and is not exercising reasonable due diligence to

  respond to the FOIA Request.

         24.     USAFA failed to produce all relevant, non-exempt agency records responsive to

  the FOIA Request, violating the statutory requirement under 5 U.S.C. § 552(a)(3)(A).

                                      PRAYER FOR RELIEF

         WHEREFORE, Rocky Mountain requests that this Court enter judgment in its favor, and

  award the following relief:

                 a.      Enjoin USAFA from withholding the requested agency records and issue

  an order compelling USAFA to conduct a reasonable search and produce the requested agency

  records in accordance with FOIA;




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                 b.      Enjoin USAFA from assessing any search or reproduction fees to Rocky

  Mountain under FOIA;

                 c.      Provide for expeditious proceedings in this civil action;

                 d.      Award Rocky Mountain its costs and attorneys’ fee reasonably incurred in

  this civil action, pursuant to 5 U.S.C. § 552(a)(4)(E); and

                 e.      Grant any other and further relief the Court deems appropriate.

   June 23, 2022                                   Respectfully submitted,




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